                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
RCH/AXB/LAZ                                         610 Federal Plaza
F. #2022R01030                                      Central Islip, New York 11722



                                                    May 1, 2025

By ECF

The Honorable Joanna Seybert
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

               Re:    United States v. Nancy Marks
                      Criminal Docket No. 23-197 (JS)

Dear Judge Seybert:

                The government respectfully submits this letter in connection with Nancy Marks’s
sentencing in the above-captioned matter. The Probation Department has calculated Marks’s
advisory Guidelines range to be 18 to 24 months and has recommended a principal sentence of
18 months’ imprisonment, together with restitution in the total amount of $178,402.97.
(PSR ¶¶ 141, 150; Sent’g Rec. 1). For the following reasons, the government respectfully concurs
in Probation’s recommendation that an 18-month custodial sentence plus restitution would be
sufficient, but not greater than necessary, to achieve the goals of sentencing in this case.

       I.      Background

               A.     Offense Conduct

                This case stems from Marks’s involvement in the 2020 and 2022 congressional
campaigns of her co-defendant, former U.S. Representative George Anthony Devolder Santos. At
the time of those campaigns, Marks was an experienced political operative.1 In her capacity as the
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                 As recounted in the PSR, Marks left college early to begin a career in politics.
(PSR ¶ 128). Among other positions, she worked as a legislative aide for a New York State
Assemblyman and as Chief of Staff for a Suffolk County Legislator. (Id. ¶ 133). In March 2008,
Marks founded Campaigns Unlimited, a political consultancy that provided candidates for elective
office with treasury, marketing, and advertisement services. (Id. ¶ 132). She owned and operated
that business for approximately 16 years, when her involvement in the instant criminal conduct
led to its closure. (Id.). Without explanation, the PSR indicates that Campaigns Unlimited’s gross
monthly income is “unknown” to Marks, its founder and sole beneficial owner. (See id.). But
public reporting indicates that the firm—described as a “Republican powerhouse for Long Island
Treasurer for Devolder-Santos for Congress—the principal fundraising committee for Santos’s
candidacy—Marks took an active role in planning and carrying out the instant fraudulent scheme.

                In particular, Marks and Santos agreed to fabricate fundraising data provided to the
Federal Election Commission (“FEC”).2 One of Marks’s principal duties was to make periodic
reports to the FEC concerning the campaign’s fundraising efforts. Through her experience in the
industry, Marks knew that the FEC was responsible for reporting to the public the sources and
amounts of money raised by political campaigns and monitoring compliance with campaign
finance laws. To artificially enhance the campaign’s fundraising totals, and thereby fraudulently
induce the National Republican Congressional Committee (“NRCC”) to lend financial and
logistical support to Santos’s campaign, Marks and Santos agreed to falsely report tens of
thousands of dollars in fake campaign donations. These contributions were reported in the names
of her own unwitting family members, and unwitting family members of Santos. Marks and Santos
also agreed to falsely report to the FEC (and then relay to the NRCC) that Santos had loaned his
campaign $500,000 when, in fact, he had not and lacked the financial means to do so. In reliance
on those fake reports, the NRCC accepted Santos into a program that provided his campaign with
access to financial and logistical resources. (See PSR ¶¶ 5-28, 78).

                In this way, Marks illegally conspired with Santos to accomplish four criminal
objectives, all of which were designed to benefit Santos and his campaign: (i) to commit wire
fraud, in violation of 18 U.S.C. § 1343; (ii) to make materially false statements to the FEC, in
violation of 18 U.S.C. § 1001; (iii) to falsify official reports to the FEC, in violation of 18 U.S.C.
§ 1519; and (iv) to commit aggravated identity theft, in violation of 18 U.S.C. § 1028A.

               B.      Procedural History

                On October 5, 2023, Marks appeared before this Court, waived indictment, and
pled guilty to an Information, pursuant to 18 U.S.C. § 371, charging her with conspiring with
Santos to commit the offenses listed above. (See ECF Nos. 42 (Information), 43 (Minute Entry),
64 (Hearing Transcript)). The Court determined that Marks was acting knowingly and voluntarily,
and that a factual basis existed for her guilty plea. (See ECF No. 64 at 24:3-7).




campaigns at the local, state and congressional level”—collected $1.29 million for its work on
state and local campaigns between 2008 and 2022, and another $1 million dollars for its work on
congressional campaigns since 2009. See Michael Gormley, Santos controversy: How Nancy
Marks became a top GOP campaign adviser, NEWSDAY (February 11, 2023),
https://www.newsday.com/long-island/politics/nancy-marks-george-santos-republican-
campaigns-fec-elections-treasurer-f0i1m1ra.
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                For the sake of brevity, the relevant facts are summarized in this filing. Exhaustive
recitations of the facts underlying the instant criminal scheme are set forth in the PSR and the
government’s letter of April 4, 2025, which was filed in connection with Santos’s sentencing.
(ECF No. 114).


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       II.     Guidelines Calculation

               The Guidelines calculation, as set forth in the PSR, is as follows:

               Base Offense Level (§ 2B1.1(a)(2))                                               6

               Plus: Multiple Unit Increase (§ 3D1.4)5                                         +2

               Plus: Loss Between $150,000 and $250,000 (§ 2B1.1(b)(1)(F))                    +10

               Plus: Abuse of Position of Public Trust (§3B1.3)                                +2

               Less: Zero-Point Offender Credit (§4C1.1(a), (b))                               -2

               Less: Acceptance of Responsibility (§3E1.1(a), (b))                             -3


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               The Guidelines calculation reflected above is an abridged version of the full
grouping analysis utilized by Probation in the PSR and by the parties in Marks’s plea agreement.
(See PSR ¶¶ 87-109). Notably, one of the conspiratorial objects to which Marks pled guilty was
aggravated identity theft—an offense carrying a mandatory 24-month sentence. See 18 U.S.C.
§ 1028A(a)(1); U.S.S.G. § 2B1.6(a). Because Marks pled guilty only to conspiring to commit that
offense rather than the offense itself, the applicable Guidelines calculation does not incorporate
the statutory minimum penalty. (See PSR ¶ 109 n.3). According to Probation, that fact may be
considered in determining whether an upward departure from the applicable Guidelines range is
warranted. (Id. ¶ 153).


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               Total:                                                                             15

              Based upon a total offense level of 15 and Criminal History Category I, the
applicable Guidelines range is 18 to 24 months. (PSR ¶¶ 112, 141).

       III.    Argument

               A.       Section 3553(a) Analysis

                 The Guidelines accurately reflect the seriousness of Marks’s conduct in conspiring
with Santos, a flagrantly corrupt and dishonest public figure, to perpetrate an historic fraud on the
NRCC, the FEC, and the public. See 18 U.S.C. § 3553(a)(2)(A) (sentence needs to reflect
seriousness of the offense). While Santos was plainly the leader and organizer of the scheme,
Marks played a key role in its success. Cf. United States v. Garcia, 380 F.2d 153, 155 (2d Cir.
1990) (applicability of minor role adjustment depends on “the importance of the defendant’s
actions to the success of the [criminal] venture”). Indeed, it was Marks whose primary
responsibility as Santos’s campaign treasurer was to accurately account for, and report to the FEC,
the campaign’s fundraising results. It was Marks whose deep experience in Republican politics
allowed her to grasp the significance to Santos’s campaign of inclusion in the NRCC’s Young
Guns program. It was Marks whose years as a campaign treasurer were brought to bear in
artificially inflating the campaign’s public reports to achieve Santos’s desired result. Simply
stated, Marks plainly earned her two-point enhancement for abusing a position of public trust
because it was her unique position in the campaign and expertise that engendered FEC and NRCC
reliance on the campaign’s official reports. See U.S.S.G. § 3B1.3. Although the PSR indicates
that Campaigns Unlimited has ceased to operate, given Marks’s prolific history as a campaign
treasurer, the Court’s sentence must account for the risk that Marks may again leverage her special
skill, access, and experience in a corrupt fashion. See 18 U.S.C. § 3553(a)(2)(A) (promote respect
for the law), (a)(2)(B) (deterrence), (a)(2)(C) (protection of public from future similar crimes).

                The Court must also consider Marks’s history and characteristics. See id.
§ 3553(a)(1). And the government acknowledges both that Marks has no criminal history and that
she has experienced personal hardship in her family life. (E.g., PSR ¶¶ 120-21). But those
experiences must be weighed among the totality of circumstances, including and especially that
Marks has, for most of her adult life, enjoyed a privileged status as a political operative and
business owner. That she jeopardized everything by resorting to criminality at all—let alone in
service of a disgraceful politician like Santos—is cause for extreme concern and cannot be easily
explained away by reference to personal tragedy. To be sure, the PSR notes that, during her
presentence interview, Marks “described a great childhood in which her basic needs were always
met. She reported no abuse of any kind.” (Id. ¶ 119). As this Court knows, that type of
background is anomalous in the mine run of criminal defendants, who often themselves have
experienced significant hardship. Indeed, it was exactly that type of anomaly the Court found to
be an aggravating factor when sentencing Santos’s fundraiser Sam Miele to a year and a day in
prison. See generally United States v. Miele, No. 23-321 (JS). The defendant’s anomalous
behavior can, in part, be attributed to being manipulated by her coconspirator, Santos. But even
that explanation has reasonable limits—to be sure, many of those affiliated with the same
campaigns as Marks and Miele did not similarly follow Santos’s criminal lead.



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              B.      Financial Penalties

                Restitution is mandatory in this case (PSR ¶¶ 83, 150) and, as part of her guilty
plea, Marks agreed to pay restitution in the full amount of each victim’s losses as determined by
the Court. As outlined in the PSR, Marks’s restitution obligation, totaling $178,402.97,
corresponds to the various funds the NRCC invested in Santos’s candidacy as a proximate result
of the instant fraudulent scheme. (See id. ¶¶ 25-26). A detailed breakdown of those funds is set
forth in the enclosed order of restitution, the entry of which Marks does not contest.

       IV.    Conclusion

               Based on the foregoing, the government respectfully submits that a within-
Guidelines sentence of 18 months imprisonment plus approximately $178,000 in restitution would
be reasonable and appropriate in this case.

                                                    Respectfully submitted,

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                                                    United States Attorney

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